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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, et al.,1                                                Case No. 23-10852 (KBO)

                          Debtors.                                     (Jointly Administered)

                                                                       Ref. Docket No. 93

                                      NOTICE OF SALE HEARING

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors-in-possession
(the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), on June 28, 2023, in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that on July 3, 2023, certain of the Debtors
(as defined in the APA, the “Sellers”) entered into an Asset and Equity Purchase Agreement dated
as of July 3, 2023 (the “APA”) with RNN-TV Licensing Co. LLC (the “Buyer”) for the sale of
substantially all of the Sellers’ assets to the Buyer free and clear of all Encumbrances other than
Assumed Liabilities (the “Sale”).2

       PLEASE TAKE FURTHER NOTICE that on July 3, 2023, the Debtors filed the
Debtors’ Motion Pursuant to Sections 105, 363 and 365 of the Bankruptcy Code for Entry of an
Order (I) Authorizing the Sale of Substantially all of the Debtors’ Assets Free and Clear of all
Encumbrances Other Than Assumed Liabilities; (II) Approving the Debtors’ Entry Into the Asset
Purchase Agreement; (III) Authorizing Assumption and Assignment of Certain Executory
Contracts and Unexpired Leases; and (IV) Granting Related Relief [Docket No. 93] (the “Sale
Motion”) seeking the Bankruptcy Court’s approval of the Sale. The APA is attached to the Sale
Motion as Exhibit B.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Sale Motion, the Debtors are
seeking to assume and assign certain of their executory contracts and unexpired leases to the Buyer
in connection with the Sale. If you have an executory contract or unexpired lease with the Debtors
that is proposed to be assumed and assigned to the Buyer, you will receive a separate notice from
the Debtors with respect to such proposed assumption and assignment and cure costs, if any

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
    Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
    (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
    FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
    Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Sale Motion (as defined below).
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(the “Cure Notice”). Any objection to the Debtors’ proposed cure costs must be filed in
accordance with the procedures and deadline set forth in the Cure Notice. All objections to the
assumption and assignment of executory contracts and unexpired leases for any reason other than
to the proposed cure costs, including with respect to adequate assurances of future performance,
shall be filed on or before the Sale Objection Deadline (as defined below) and in accordance with
the procedures set forth herein.

       PLEASE TAKE FURTHER NOTICE that copies of the Sale Motion, including the
APA, are available free of charge for download at https://cases.stretto.com/iMediaBrands
(the “Case Website”) or from the Debtors’ claims and noticing agent, Stretto, via telephone at
(855) 794-3801 or via email at teamiMedia@stretto.com.

      PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief sought in the
Sale Motion will be held on July 28, 2023, at 1:00 p.m. (ET) before the Honorable Karen B.
Owens, United States Bankruptcy Judge, at the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 6th Floor, Courtroom No. 3, Wilmington, Delaware 19801.

        PLEASE TAKE FURTHER NOTICE that any response or objection to the entry of an
order approving the relief sought in the Sale Motion (a “Sale Objection”) must: (a) be in writing;
(b) comply with the Bankruptcy Rules and the Local Rules; (c) set forth the specific basis for the
Sale Objection; (d) be filed with the Clerk of the Court, 824 N. Market Street, 3rd Floor,
Wilmington, Delaware 19801 on or before July 20, 2023 at 4:00 p.m. (ET)
(the “Sale Objection Deadline”), and proof of service of such Sale Objection upon the Objection
Notice Parties shall be filed with the Court as and when required by the Local Rules; and (e) be
served upon the Objection Notice Parties. The “Objection Notice Parties” means: (a) proposed
counsel to the Debtors, Ropes & Gray LLP, 191 N Wacker Drive, Chicago IL, 60606 (Attn: Ryan
Preston Dahl (ryan.dahl@ropesgray.com) and Stephen Iacovo (stephen.iacovo@ropesgray.com));
(b) proposed co-counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street,
17th Floor, Wilmington, Delaware 19801 (Attn: Laura Davis Jones (ljones@pszjlaw.com) and
Timothy P. Cairns (email: tcairns@pszjlaw.com)); (c) counsel to DIP Agent and Prepetition
Agent, Blank Rome LLP, 1201 North Market Street, Suite 800, Wilmington, Delaware 19801
(Attn: Regina Stango Kelbon (regina.kelbon@blankrome.com)); (d) counsel to Crystal Financial
LLC d/b/a SLR Credit Solutions, Morgan Lewis & Bockius, LLP, One Federal Street, Boston,
Massachusetts 02110 (Attn: Julia Frost-Davies (julia.frost-davies@morganlewis.com)); (e)
counsel to the Buyer, Fried, Frank, Harris, Shriver & Jacobson LLP, One New York Plaza, New
York, NY 10004 (Attn: Jennifer Rodburg (jennifer.rodburg@friedfrank.com)); (f) counsel to any
official committee appointed in the chapter 11 cases; and (g) the United States Trustee for the
District of Delaware, 844 N. King Street, Room 2207, Wilmington, Delaware (Attn: Richard
Schepacarter (richard.schepacarter@usdoj.gov).



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     PLEASE TAKE FURTHER NOTICE THAT IF A SALE OBJECTION IS NOT
FILED AND SERVED ON OR BEFORE THE SALE OBJECTION DEADLINE, THE
OBJECTING PARTY MAY BE BARRED FROM OBJECTING TO THE SALE AND
BEING HEARD AT THE SALE HEARING, AND THE BANKRUPTCY COURT MAY
ENTER THE SALE ORDER WITHOUT FURTHER NOTICE TO SUCH PARTY.

Dated: July 5, 2023             PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                /s/ Laura Davis Jones
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                                -and-

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                                Proposed Counsel to the Debtors and Debtors in Possession




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